 Case 1:22-cv-01146-MN Document 86 Filed 09/20/23 Page 1 of 2 PageID #: 896




                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF DELAWARE

ARM LTD.,                                       )
                                                )
                        Plaintiff,              )
                                                )
       v.                                       )    C.A. No. 22-1146 (MN)
                                                )
QUALCOMM INC., QUALCOMM                         )
TECHNOLOGIES, INC. and NUVIA, INC.,             )
                                                )
                        Defendants.             )

STIPULATION AND [PROPOSED] ORDER TO AMEND CASE SCHEDULING ORDER

       WHEREAS, the current fact discovery deadline is October 20, 2023 (D.I. 26, ¶ 7(a));

       WHEREAS, the parties have conferred and believe that an extension of the fact discovery

period is necessary to, inter alia, schedule and complete depositions;

       WHEREAS, the parties further request extensions of the other deadlines shown in the

table below consistent with the extension of fact discovery, none of which impact any dates on

the Court’s calendar;

       IT IS HEREBY STIPULATED AND AGREED by and between the parties and subject

to the approval of the Court, that the following deadlines contained in the Scheduling Order (D.I.

26) are amended as follows:

                                                                           Proposed New
            Event                      Current Deadline
                                                                             Deadline

 Fact Discovery Close                  October 20, 2023                  November 17, 2023


 Opening Expert Reports               November 17, 2023                  December 20, 2023


 Rebuttal Expert Reports               January 25, 2024                  February 27, 2024
  Case 1:22-cv-01146-MN Document 86 Filed 09/20/23 Page 2 of 2 PageID #: 897




                                                                            Proposed New
             Event                     Current Deadline
                                                                              Deadline

 Reply Expert Reports                  February 27, 2024                    March 25, 2024


 Expert Discovery Closes                March 22, 2024                      April 15, 2024

 SJ/Daubert Motions and                                                     April 22, 2024
                                         April 22, 2024
 Opening Briefs                                                              (no change)

       No dates on the Court’s calendar are affected by this stipulation.

       The undersigned counsel hereby certify that they provided a copy of this stipulation to

their clients in compliance with D. Del. L.R. 16.4(b).

YOUNG, CONAWAY, STARGATT & TAYLOR LLP               MORRIS, NICHOLS, ARSHT & TUNNELL LLP

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Attorneys for Plaintiff

September 20, 2023



                SO ORDERED this ____ day of _________________, 2023.



                                           The Honorable Maryellen Noreika
                                           United States District Judge




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